                      Case 5:21-cv-00844-XR Document 430 Filed 05/31/22 Page 1 of 2
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                              __________ District of
                                                                  of Texas
                                                                     __________


            La Union Del Pueblo Entero, et al.                 )
                             Plaintiff                         )
                                v.                             )      Case No. 5:21-cv-844-XR
                  Gregory W. Abbott, et al.                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Please see attached.                                                                                          .


Date:          05/31/2022                                                             /s/ Charles E.T. Roberts
                                                                                         Attorney’s signature


                                                                                Charles E.T. Roberts (PA 326539)*
                                                                                     Printed name and bar number
                                                                                            Jones Day
                                                                                    51 Louisiana Avenue, N.W.
                                                                                     Washington D.C. 20001

                                                                                               Address

                                                                                     cetroberts@jonesday.com
                                                                                            E-mail address

                                                                                          (202) 879-3795
                                                                                          Telephone number

                                                                                          (202) 626-1700
                                                                                             FAX number
          Case 5:21-cv-00844-XR Document 430 Filed 05/31/22 Page 2 of 2




I am admitted or otherwise authorized to practice in this court, and I appear in this case as
counsel for:

The Harris County Republican Party, The Dallas County Republican Party, the National
Republican Senatorial Committee, and the National Republican Congressional Committee.


*Admitted in Pennsylvania
Not admitted in D.C. (directly supervised by John M. Gore, a licensed D.C. Bar member)
